                          UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
BRIAN BERGERON and PAUL TRAHON,            )
On their Own Behalf, and on Behalf of All  )
Those Similarly Situated,1                 )
                     Plaintiffs            )
                                           )    CIVIL ACTION
V.                                         )    NO. 1:23-CV-12934
                                           )
TOWN OF BROOKLINE and                      )
BROOKLINE FIRE DEPARTMENT,                 )
                     Defendants            )
__________________________________________)


          ORDER TENTATIVELY APPROVING SETTLEMENT AGREEMENT


J. KOBICK, D.J.
       This case involves a claim for unpaid overtime compensation under the Fair Labor

Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”). This matter came before the Court following

preliminary settlement by the parties of all aspects of their dispute. The Court conducted a

hearing concerning the settlement, heard from counsel, and reviewed the Settlement Agreement,

the Release, and related exhibits. The parties now seek tentative approval of the Settlement

Agreement, after which they will obtain signed releases from the Plaintiffs, obtain funding

approval from the relevant municipal authorities, and return to the Court for final approval.

       In reviewing a settlement of an FLSA private claim, courts normally "scrutiniz[e] the

settlement for fairness" to determine whether the settlement is a "fair and reasonable resolution

of a bona fide dispute over FLSA provisions." Lynn Food Stores v. United States, 679 F.2d 1350,




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 A total of 119 Plaintiffs have opted into the lawsuit by submitting signed consent forms to the
Court.
1352-53 (11th Cir. 1982). See generally Herb v. Homesite Group Inc., No. 1:22-cv-11416-JEK,

2024 U.S. Dist. LEXIS 135170 (D. Mass. July 31, 2024).

       In this case, there is a bona fide factual and legal dispute over whether the Defendants

have violated the FLSA, as well as disputes over the scope of the remedy, including the remedial

period. The Court has reviewed the terms of the Settlement Agreement including the amount to

be received by the Plaintiffs and finds that the compromise reached by the parties is a fair and

reasonable resolution of the parties’ bona fide disputes. Accordingly, it is ORDERED AND

ADJUDGED that the parties' Settlement Agreement is hereby TENTATIVELY APPROVED.

       ORDERED in Boston, Massachusetts this ____ day of November, 2024.



                                      _____________________________________
                                      Julia E. Kobick
                                      United States District Judge
